Case 8:15-cv-02231-MSS-CPT Document 167-8 Filed 05/09/17 Page 1 of 8 PageID 7466




                                  DX4
Case 8:15-cv-02231-MSS-CPT Document 167-8 Heymsfield
                                           Filed 05/09/17 Page 2 of 8 PageID 7467
                                Steven
                                  February 24, 2017                             ·

    ·1· · · · · · · ·UNITED STATES DISTRICT COURT
    ·2· · · · · · · · MIDDLE DISTRICT OF FLORIDA
    ·3· · · · · · · · · · · TAMPA DIVISION
    ·4· · · · · · · CASE NO. 8:15-cv-02231-MSS-TBM
    ·5· ·___________________________________X
    ·6· ·FEDERAL TRADE COMMISSION,
    ·7· · · · · · · · · · · ·Plaintiff,
    ·8· · · · · · ·vs.
    ·9· ·ROCA LABS, INC., a corporation;
    10· ·ROCA LABS NUTRACEUTICAL USA,
    11· ·INC., a corporation, et al.,
    12· · · · · · · · · · · ·Defendants.
    13· ·___________________________________X
    14· · · · · · ·VIDEOTAPED AND VIDEOCONFERENCE DEPOSITION
    15· ·OF STEVEN B. HEYMSFIELD, M.D., a witness called on
    16· ·behalf of the Defendants, taken pursuant to the
    17· ·applicable provisions of the Federal Rules of Civil
    18· ·Procedure, before Valerie R. Johnston, Registered
    19· ·Professional Reporter and Notary Public in and for
    20· ·the Commonwealth of Massachusetts, at the Offices of
    21· ·O'Brien & Levine Court Reporting Solutions, at 195
    22· ·State Street, 5th Floor, Boston, Massachusetts, on
    23· ·February 24, 2017, commencing at 9:19.
    24
    25


                                  U.S. LEGAL SUPPORT
                                    (305) 373-8404
Case 8:15-cv-02231-MSS-CPT Document 167-8 Heymsfield
                                           Filed 05/09/17 Page 3 of 8 PageID 7468
                                Steven
                                  February 24, 2017                            2

    ·1· ·APPEARANCES:
    ·2
    ·3· ·ON BEHALF OF THE PLAINTIFF:
    ·4
    ·5· · · · Federal Trade Commission
    ·6· · · · Bureau of Consumer Protection
    ·7· · · · · · ·(by Paul Spelman, Esq.)
    ·8· · · · · · ·600 Pennsylvania Avenue, NW
    ·9· · · · · · ·Maildrop CC - 10528
    10· · · · · · ·Washington, DC· 20580
    11· · · · · · ·Tel:· (202) 326-2487
    12· · · · · · ·E-mail:· pspelman@ftc.gov
    13
    14· ·ON BEHALF OF THE DEFENDANTS:
    15
    16· · · · Shumaker, Loop & Kendrick, LLP
    17· · · · · · ·(by Suzette Marteny, Esq.)
    18· · · · · · ·101 E. Kennedy Blvd, Suite 2800
    19· · · · · · ·Tampa, Florida· 33602
    20· · · · · · ·Tel:· (813) 227-7600
    21· · · · · · ·E-mail:· smarteny@slk-law.com
    22
    23· ·Also Present:· Connor Vail, Videographer
    24
    25


                                  U.S. LEGAL SUPPORT
                                    (305) 373-8404
Case 8:15-cv-02231-MSS-CPT Document 167-8 Heymsfield
                                           Filed 05/09/17 Page 4 of 8 PageID 7469
                                Steven
                                  February 24, 2017                            3

    ·1· · · · · · · · · · · · ·I N D E X
    ·2· ·WITNESS:· · · ·DIRECT· ·CROSS· ·REDIRECT· ·RECROSS
    ·3· ·Steven B. Heymsfield, M.D.
    ·4· ·(by Ms. Marteny) 5· · · · · · · · ·110
    ·5· ·(by Mr. Spelman)· · · · ·98· · · · · · · · · 116
    ·6· · · · · · · · · · · · __________
    ·7· · · · · · · · · · · E X H I B I T S
    ·8· ·EX. NO.· · · · · · · · · · · · · · · · · · · PAGE NO.
    ·9· ·Exhibit 1· ·Document entitled "PX 7
    10· · · · · · · ·Declaration of Steven B.
    11· · · · · · · ·Heymsfield, M.D."· · · · · · · · · · ·12
    12· ·Exhibit 2· ·Expert Report of Steven B.
    13· · · · · · · ·Heymsfield, M.D. Prepared for
    14· · · · · · · ·the Federal Trade Commission· · · · · 13
    15· ·Exhibit 3· ·Declaration of Elizabeth Payton· · · ·88
    16· · · · · · · · · · · · __________
    17· · ·(Exhibits retained by the stenographer, scanned,
    18· · attached to transcripts, and returned to Attorney
    19· · · · · · · · · · · · ·Marteny.)
    20
    21
    22
    23
    24
    25


                                  U.S. LEGAL SUPPORT
                                    (305) 373-8404                                  YVer1f
Case 8:15-cv-02231-MSS-CPT Document 167-8 Heymsfield
                                           Filed 05/09/17 Page 5 of 8 PageID 7470
                                Steven
                                  February 24, 2017                            4

    ·1· · · · · · · · · ·P R O C E E D I N G S
    ·2· · · · · · THE VIDEOGRAPHER:· Good morning, everyone.
    ·3· ·We are going on the record.· This is the start of
    ·4· ·Media Unit No. 1 in the videotaped deposition of
    ·5· ·Stephen Heymsfield, M.D. in the matter of Federal
    ·6· ·Trade Commission versus Roca Labs, Incorporated, et
    ·7· ·al.· This has been filed in the U.S. District Court,
    ·8· ·Middle District of Florida, Tampa Division, Judicial
    ·9· ·Case No. 1:15-cv-02231-MSS-TBM.
    10· · · · · · This deposition is being held at O'Brien &
    11· ·Levine Court Reporting on February 24th at
    12· ·approximately 9:17 a.m.
    13· · · · · · My name is Connor Vail with U.S. Legal
    14· ·Support, and I'll be your legal video specialist for
    15· ·today.· The court reporter is Valerie Johnston, also,
    16· ·with U.S. Legal Support.
    17· · · · · · Will counsel please state their appearances
    18· ·and who they represent for the record and, after
    19· ·which, will the court reporter, please, swear in the
    20· ·witness.
    21· · · · · · MS. MARTENY:· Suzette Marteny for the
    22· ·Defendants.
    23· · · · · · MR. SPELMAN:· Paul Spelman for the
    24· ·Plaintiff.
    25


                                  U.S. LEGAL SUPPORT
                                    (305) 373-8404                                  YVer1f
Case 8:15-cv-02231-MSS-CPT Document 167-8 Heymsfield
                                           Filed 05/09/17 Page 6 of 8 PageID 7471
                                Steven
                                  February 24, 2017                            5

    ·1· · · · · · · ·STEVEN B. HEYMSFIELD, M.D.,
    ·2· ·having been satisfactorily identified, and duly sworn
    ·3· ·by the Notary Public, was examined and testified as
    ·4· ·follows:
    ·5· · · · · · · · · · DIRECT EXAMINATION
    ·6· · · · BY MS. MARTENY:
    ·7· · · · Q.· Good morning, sir.· This is -- my name is
    ·8· ·Suzi Marteny.· I represent the Defendants in this
    ·9· ·case.· How are you?
    10· · · · A.· Good.· Just fine.
    11· · · · Q.· Good.· Can you state your name for the
    12· ·record, please.
    13· · · · A.· Steven Heymsfield.
    14· · · · Q.· And what is your address, Dr. Heymsfield?
    15· · · · A.· My home address or my work address?
    16· · · · Q.· Work address, please, professional address.
    17· · · · A.· Pennington Biomedical Research Center, 6400
    18· ·Perkins Road, Baton Rouge, Louisiana 70808.
    19· · · · Q.· Thank you.
    20· · · · · · Have you been deposed before?
    21· · · · A.· I -- I have.
    22· · · · Q.· How many times?
    23· · · · A.· That's a good question.· It's over many
    24· ·years.· I would -- I would say about 10 or 12 times
    25· ·over many, many years.


                                  U.S. LEGAL SUPPORT
                                    (305) 373-8404                                  YVer1f
Case 8:15-cv-02231-MSS-CPT Document 167-8 Heymsfield
                                           Filed 05/09/17 Page 7 of 8 PageID 7472
                                Steven
                                  February 24, 2017                          90

    ·1· ·you just said in terms of the effectiveness of the
    ·2· ·Roca Labs product.
    ·3· · · · Q.· So -- and I understand what you're getting
    ·4· ·at.
    ·5· · · · A.· Yeah.
    ·6· · · · Q.· But, even in light of the -- in light of the
    ·7· ·anecdotal evidence, which the declarations that you
    ·8· ·have in front of you are a small portion of, I think,
    ·9· ·maybe, the confusion is that the Roca Labs product is
    10· ·a -- is a -- well, the Roca Labs regimen is a
    11· ·combination of things.· It's a restrictive calorie
    12· ·diet where users consumed 1,200 calories for -- a day
    13· ·or less.· They participate in some sort of exercise
    14· ·program, and they also participate in coaching --
    15· ·coaching and -- and counseling, for lack of a better
    16· ·term, with Roca Labs staff.· The Roca Labs formula as
    17· ·one component of that program, that the fiber
    18· ·supplement assists users in maintaining a feeling of
    19· ·satiety so that their -- their weight loss is --
    20· ·is -- or their hunger is mitigated.
    21· · · · · · So, in light of that, would you agree that
    22· ·those components of the Roca Labs regimen, a 1,200
    23· ·calorie a day diet, plus exercise, plus a behavior
    24· ·modification portion, including coaching, would be
    25· ·likely or would absolutely result in weight loss with


                                  U.S. LEGAL SUPPORT
                                    (305) 373-8404                                  YVer1f
Case 8:15-cv-02231-MSS-CPT Document 167-8 Heymsfield
                                           Filed 05/09/17 Page 8 of 8 PageID 7473
                                Steven
                                  February 24, 2017                          91

    ·1· ·compliant users?
    ·2· · · · · · MR. SPELMAN:· Objection to form.
    ·3· · · · A.· The -- the answer is yes, but it says
    ·4· ·nothing about whether or not the Roca Labs product
    ·5· ·contributes to that weight loss.
    ·6· · · · Q.· And, if the Roca Labs product contributes in
    ·7· ·a way that would -- after the user ingests it, it
    ·8· ·would produce a feeling of fullness and satiety,
    ·9· ·would that help the user maintain compliance with a
    10· ·low-calorie diet such as one that's 1,200 calories or
    11· ·less?
    12· · · · A.· It -- it might, but the -- we would have to
    13· ·add that the question is whether or not it helps
    14· ·achieve substantial long-term weight loss beyond that
    15· ·of just the diet alone.
    16· · · · Q.· And I noted you inserted the term, long
    17· ·term.· Now, I'm not sure that was included in one of
    18· ·the claims that you were asked to evaluate.
    19· · · · A.· Well, you -- you -- well, I don't won't say
    20· ·anything until you -- you ask another question but...
    21· · · · Q.· Okay.· I mean, I -- I think -- well, let's
    22· ·see.
    23· · · · · · Okay.· In your expert report -- expert
    24· ·report in Paragraph 30 on Page 15, I think you
    25· ·acknowledge that the study that Roca Labs conducted


                                  U.S. LEGAL SUPPORT
                                    (305) 373-8404                                  YVer1f
